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                       EXHIBIT A
                   to Declaration of Nilay Vora
Case
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      2:21-mj-01307-DUTY *SEALED*
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                                          ATTACHMENT-USPVSEIZURE WARRANT

        ITEMS TO BE SEIZED


              The items              to     be seized           are      the     following               pieces         of business

        equipment       located             at    U.S.       PRIVATE VAULTS, INC.,                          9182 WEST

        OLYMPIC BLVD.,               BEVERLY HILLS,                CA 90212:

                        a.           The business               computers;

                        b.           The money           counters;

                        c.           The nests           of     safety         deposit           boxes       and        keys.           This

              warrant             does      not    authorize             a criminal              search           or    seizure              of

              the      contents             of    the    safety       deposit            boxes.             In     seizing             the

              nests          of    safety         deposit        boxes,          agents          shall       follow            their

              written             inventory         policies          to       protect           their       agencies             and

              the      contents            of     the    boxes.           Also      in     accordance                  with     their

              written             policies,         agents        shall          inspect          the      contents             of      the

              boxes          in    an effort            to    identify           their      owners           in        order      to
              notify          them        so that        they     can      claim         their       property;

                        d.           The digital              and video           surveillance                   and security
              equipment;              and

                        e.           The biometric               scanners.




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